Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 1 of 11




                  Exhibit 6
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 2 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 3 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 4 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 5 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 6 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 7 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 8 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 9 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 10 of 11
Case 1:19-mc-00145-TSC Document 352-6 Filed 12/08/20 Page 11 of 11
